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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

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                                   7    JANICE KENNY, et al.,                               Case No. 14-cv-00722-SI
                                   8                      Plaintiffs,
                                                                                            ORDER RE MOTION FOR
                                   9            v.                                          ATTORNEYS' FEES,
                                                                                            REIMBURSEMENT OF EXPENSES,
                                  10    MONTAGE TECHNOLOGY GROUP                            AND AWARD TO CLASS
                                        LIMITED, et al.,                                    REPRESENTATIVES
                                  11
                                                          Defendants.                       Re: Dkt. No. 142
                                  12
Northern District of California
 United States District Court




                                  13          In connection with the parties’ motion seeking final approval of the parties’ settlement

                                  14   (Dkt. No. 141), plaintiffs’ counsel moves pursuant to Federal Rule of Civil Procedure 23(e) for an

                                  15   order awarding attorneys’ fees, reimbursement of expenses of $429,359.83, and awards of $10,000

                                  16   to each of the two class representatives (totaling $20,000). Dkt. No. 142. The Court finds the

                                  17   requested expense reimbursement and class representative awards are reasonable and appropriate.

                                  18          As for attorneys’ fees, plaintiffs’ counsel seek one-third of the Gross Settlement Fund, or

                                  19   $2,416,666. Based on a lodestar of $1,347,967, the requested fees amount to a 1.79 multiplier.

                                  20   However, in light of the length of this case, risks of the litigation and skill required for the work,

                                  21   the Court finds a 1.5 multiplier to be more appropriate. Therefore, plaintiffs’ counsel is awarded

                                  22   attorneys’ fees in the amount of $2,021,950.50.        Consistent with this adjustment, the Court

                                  23   GRANTS the motion for attorneys’ fees, reimbursement of expenses, and award to class

                                  24   representatives.

                                  25          IT IS SO ORDERED.

                                  26   Dated: January 3, 2018

                                  27                                                    ______________________________________
                                                                                        SUSAN ILLSTON
                                  28                                                    United States District Judge
